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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

______________________________________________________________________________

In re:                                          Case 25-30895
                                                Chapter 7
Afnan Mohammed Husain
                                                Honorable Chief Judge
                                                Katherine A. Constantine




                      Debtors.

              RULE 7007.1 CORPORATE OWNERSHIP STATEMENT
______________________________________________________________________________

         Bridgecrest Credit Company, LLC identifies the following parent corporation and any

publicly held corporation that owns 10% or more of its stock:

         1.    Parent corporation: None.

         2.    Publicly held corporation(s) that own 10% or more of the stock of

                Bridgecrest Credit Company, LLC:

                      -        Bridgecrest Acceptance Corporation

                      -        SilverRock Group, Inc.



                                                  WILFORD, GESKE & COOK, P.A.

Dated: April 18, 2025                             By: s/ Orin J. Kipp
                                                  Orin J. Kipp, #0390438
                                                  7616 Currell Blvd., Suite 200
                                                  Woodbury, Minnesota 55125
                                                  (651) 209-3300
                                                  Attorneys for Bridgecrest Credit
                                                  Company, LLC
